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                                           KEN PAXTON
                                     AT'J'C)RNEY GENERAL <)F TEXAS




March 15, 2018




                                                                                            OR2018-06015

Dear Ms. Lee:

You ask whether certain information is subject to required public disclosure under the
Public Information Act (the "Act"), chapter 552 of the Government Code. Your request was
assigned ID# 699618 (C.A. File No. 17PIA0762).

The Harris County Voter Registrar (the "voter registrar's office") received a request for (I)
all information pertaining to registrants who were identified as potentially not satisfying the
citizenship requirements from any official information source since January 1, 2006, (2) all
information pertaining to requests for registration cancellations for any reason related to non-
citizenship or ineligibility since January I, 2006, (3) all information pertaining to individuals
claiming to be non-citizens when attempting to avoid jury duty since January 1, 2006, and
(4) all communications regarding list maintenance activities relating to the aforementioned
categories of information to various state and federal law enforcement agencies. 1 You claim
the submitted information is excepted from disclosure under sections 552.101 and 552. l 08
of the Government Code. We have considered the submitted arguments and reviewed the




           'We note the voter registrar's office sought and received clarification of the information requested.
See Gov'! Code § 5.52.222 (providing if information requested is unclear to governmental body or if large
amount of information has been requested, governmental body may ask requestor to clarify or narrow request,
but may not inquire into purpose for which information will be used); see also City of Dallas v. Abbott, 304
S.W.3d 380, 387 (Tex. 2010) (holding that when a governmental entity, acting in good faith, requests
clarification or narrowing of an unclear or overbroad request for information, the ten-day period to request an
attorney general ruling is measured from the date the request is clarified or narrowed).


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submitted representative sample of information. 2 We have also received and considered
comments submitted by the requestor. See Gov't Code § 552.304 (providing that interested
party may submit written comments regarding why information should or should not be
released).

Section 552.108(a)(l) of the Government Code excepts from disclosure "[i]nformation held
by a law enforcement agency or prosecutor that deals with the detection, investigation, or
prosecution of crime ... if: ( 1) release of the information would interfere with the detection,
investigation, or prosecution of crime[.]" Id. § 552.108(a)(l). A governmental body
claiming section 552.108(a)(l) must explain how and why the release of the requested
information would interfere with law enforcement. See id. §§ 552.108(a)(l ), .301 (e)(l )(A);
see also Ex parte Pruitt, 551 S. W.2d 706 (Tex. 1977). Section 552.108 may be invoked by
the proper custodian of information relating to a pending investigation or prosecution of
criminal conduct. See Open Records Decision No. 474 at 4-5 (1987). You state, and have
provided an affidavit showing, the Office of the Attorney General's Special Investigations
Unit, Criminal Investigations Division ("CID"), objects to release of the information
submitted as Exhibit B-4 because it relates to an ongoing criminal investigation, and release
of that information would interfere with the investigation and prosecution of the case. Based
upon these representations, we conclude the release of Exhibit B-4 would interfere with the
detection, investigation, or prosecution of crime. See Houston Chronicle Publ 'gCo. v. City
ofHouston, 531 S.W.2d 177 (Tex. Civ. App.-Houston [14th Dist.] 1975) (court delineates
law enforcement interests that are present in active cases), writ ref'd n.r.e. per curiam, 536
S.W.2d 559 (Tex. 1976). Accordingly, we conclude section 552.108(a)(l) is applicable to
the information you indicated, and the voter registrar's office may withhold Exhibit B-4
under section 552.l 08(a)(l) of the Government Code on behalf of CID. 3

Section 552.101 of the Government Code excepts from disclosure "information considered
to be confidential by law, either constitutional, statutory, or by judicial decision." Gov't
Code§ 552.101. You raise section 552.101 in conjunction with 62.113 of the Government
Code and argue this statute prohibits the voter registrar's office from producing the requested
information to respond to categories I and 3 of the present request for information.
Section 62.113 provides as follows:

         (a) The [county clerk] shall maintain a list of the name and address of each
         person who is excused or disqualified under [subchapter B of chapter 62 of




         2
          We assume the "representative sample" of records submitted to this office is truly representative of
the requested records as a whole. See Open Records Decision Nos. 499 (1988), 497 (1988). This open records
letter does not reach, and therefore does not authorize the withholding of, any other requested records to the
extent that those records contain substantially different types of information than that submitted to this office.

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             As our ruling is dispositive, we need not address yourremainingargumentsagainst disclosure of this
infonnation.




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        the Government Code] from jury service because the person is not a citizen
        of the United States.

        (b) On the third business day of each month, the clerk shall send a copy of the
        list of persons excused or disqualified because of citizenship in the previous
        month to:

                    (1) the voter registrar of the county;

                    (2) the secretary of state; and

                    (3) the county or district attorney, as applicable, for an investigation
                    of whether the person committed an offense under Section 13.007,
                    Election Code, or other law. [4 ]

        (c) A list compiled under this section may not be used for a purpose other
        than a purpose described by Subsection (b) or Section 16.0332 or 18.068,
        Election Code. [5]

        (d) A person commits an offense if the person violates Subsection (c).
        An offense under this section is a Class C misdemeanor.

Gov't Code § 62.113. Thus, information maintained by a county clerk pursuant to
section62.l 13(a) and obtained by the voterregistrar'sofficepursuantto section 62. l 13(b)(l)
may only be used as provided by section 62. l 13(c). Id. § 62. l 13(a)-(c). Any other use of
such information is a criminal offense. Id.§ 62.l 13(d).

Upon review, we agree the submitted information includes lists obtained by the voter
registrar's office pursuant to section 62.113. Release of the lists in this instance would be
"for a purpose other than a purpose described by Subsection (b) or Section 16.0332
or 18.068, Election Code." See id. § 62.l 13(c). Accordingly, we conclude the lists we have
marked are confidential pursuant to section 62.113(c) of the Government Code and must be
withheld under section 552.101 of the Government Code. However, we find none of the
remaining information is confidential under section 62.113, and none of the remaining
information may be withheld on this basis.




         4
             Section 13.007 provides in patt that "[a] person commits an offense if the person knowingly makes
a false state1nent or requests, com1nands, or atte1npts to induce another person to 1nake a false statementon a
registration application." Elec. Code§ 13.007(a).

        'Sections 16.0332 and 18.068 of the Election Code pertain to the use of the list created under section
62.113 by a voter registrar and the secretary of state's office, respectively. See Elec. Code§§ 16.0332, 18.068.




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Section 552.101 of the Government Code also encompasses information made confidential
by section 62.0132 of the Government Code. This provision authorizes the Office of Court
Administration of the Texas Judicial System to create a standardized juror questionnaire
form to be used in courts throughout the state. See id. § 62.0132(a). Section 62.0132(f)
states information contained in a completed questionnaire is confidential and not subject to
the Act. We note the remaining information contains completed juror questionnaires.
Accordingly, the voter registrar's office must withhold the completed juror questionnaires,
which we have marked, under section 552. l 01 of the Government Code in conjunction with
section 62.0132(f) of the Government Code. However, we find none of the remaining
information at issue is confidential under section 62.0132(f), and it may not be withheld
under section 552.10 I of the Government Code on this basis.

Section 552.101 of the Government Code also encompasses section 13.004 of the Election
Code, which pertains to voter qualifications and registration. Section 13.004 of the Election
Code provides, in relevant part, the following:

       (a) The registrar may not transcribe, copy, or otherwise record a telephone
       number furnished on a registration application.



       (c) The following information furnished on a registration application is
       confidential and does not constitute public information for purposes of [the
       Act]:

               (!) a social security number;

               (2) a Texas driver's license number;

               (3) a number of a personal identification card issued by the
               Department of Public Safety ["DPS"];

               (4) an indication that an applicant is interested in working as an
               election judge;

               (5) the residence address of the applicant, ifthe applicant is a federal
               judge or state judge, as defined by Section 13.0021, the spouse ofa
               federal judge or state judge, or an individual to whom
               Section 552.1175, Government Code, applies and the applicant:

                       (A) included an affidavit with the registration application
                       describing the applicant's status under this subdivision,
                       including an affidavit under Section 13.0021 ifthe applicant




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                     is a federal judge or state judge or the spouse of a federal
                     judge or state judge;

                     (B) provided the registrar with an affidavit describing the
                     applicant's status under this subdivision, including an
                     affidavit under Section 15.0215 ifthe applicant is a federal
                     judge or state judge or the spouse of a federal judge or state
                     judge; or

                     (C) provided the registrar with a completed form approved by
                     the secretary of state for the purpose of notifying the registrar
                     of the applicant's status under this subdivision.

              (6) the residence address of the applicant, if the applicant, the
              applicant's child, or another person in the applicant's household is a
              victim of family violence as defined by Section 71.004, Family Code,
              who provided the registrar with:

                     (A) a copy of a protective order issued under Chapter 85,
                     Family Code, or a magistrate's order for emergency
                     protection issued under Article 17.292, Code of Criminal
                     Procedure; or

                     (B) other independent documentary evidence necessary to
                     show that the applicant, the applicant's child, or another
                     person in the applicant's household is a victim of family
                     violence;

              (7) the residence address of the applicant, if the applicant, the
              applfoant's child, or another person in the applicant's household is a
              victim of sexual assault or abuse, stalking, or trafficking of persons
              who provided the registrar with:

                      (A) a copy of a protective order issued under Chapter 7A or
                      Article 6.09, Code of Criminal Procedure, or a magistrate's
                      order for emergency protection issued under Article 17 .292,
                      Code of Criminal Procedure; or

                      (B) other independent documentary evidence necessmy to
                      show that the applicant, the applicant's child, or another
                      person in the applicant's household is a victim of sexual
                      assault or abuse, stalking, or trafficking of persons; or

              (8) the residence address of the applicant, ifthe applicant:



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                        (A) is a participant in the address confidentiality program
                        administered by the attorney general under Subchapter C,
                        Chapter 56, Code of Criminal Procedure; and

                        (B) provided the registrar with proof of certification under
                        Article 56.84, Code of Criminal Procedure.

Elec. Code§ 13 .004(a), (c). Upon review, we find the remaining information includes voter
registration applications. Accordingly, the voter registrar's office must withhold all voter
social security numbers, Texas driver's license numbers, numbers of personal identification
card issued by DPS, and any indications that an applicant is interested in working as an
election judge that are furnished on the submitted voter registration applications under
section 552.101 of the Government Code in conjunction with section 13 .004 of the Election
Code. Additionally, to the extent the addresses furnished on the submitted voter registration
applications fall within the categories enumerated in subsections 13.004(c)(5)
through 13.004(c)(8), the voter registrar's office also must withhold those addresses under
section 552.101 of the Government Code in conjunction with section 13.004 of the Election
Code.

Section 552.101 of the Government Code also encompasses the doctrine of common-law
privacy, which protects information that is (1) highly intimate or embarrassing, the
publication of which would be highly objectionable to a reasonable person, and (2) not of
legitimate concern to the public. Indus. Found v. Tex. Indus. Accident Bd, 540 S. W.2d 668,
685 (Tex. 1976). To demonstrate the applicability of common-law privacy, both prongs of
this test must be satisfied. Id at 681-82. Types of information considered intimate and
embarrassing by the Texas Supreme Court are delineated in Industrial Foundation. Id
at 683. The Third Court of Appeals has concluded public citizens' dates of birth are
protected by common-law privacy pursuant to section 552.101. See Paxton v. City ofDallas,
No. 03-13-00546-CV, 2015 WL 3394061, at *3 (Tex. App.-Austin May 22, 2015, pet.
denied) (mem. op.). Upon review, we find portions of the submitted information satisfy the
standard articulated by the Texas Supreme Court in Industrial Foundation. Accordingly, the
voter registrar's office must withhold all public citizens' dates of birth under section 552.101
of the Government Code in conjunction with common-law privacy. However, we find you
have not demonstrated any of the remaining information is highly intimate or embarrassing
and not oflegitimate public concern. Therefore, none of the remaining information may be
withheld under section 552.101 of the Government Code in conjunction with common-law
privacy.

  Section 552.101 of the Government Code also encompasses the common-law informer's
  privilege, which Texas courts have long recognized. See Aguilar v. State, 444 S.W.2d 935,
  937 (Tex. Crim. App. 1969). The informer's privilege protects from disclosure the identities
  of persons who report activities over which the governmental body has criminal or
· quasi-criminal law-enforcement authority, provided the subject of the information does not
  already !mow the informer's identity. See Open Records Decision No. 208 at 1-2 (1978).




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The informer's privilege protects the identities of individuals who report violations of
statutes to the police or similar law-enforcement agencies, as well as those who report
           of
violations statutes with civil or criminal penalties to "administrative officials having a
duty of inspection or of law enforcement within their particular spheres." Open Records
Decision No. 279 at 1-2 (1981) (citing 8 John H. Wigmore, Evidence in Trials at Common
Law, § 2374, at 767 (J. McNaughton Rev. Ed. 1961)). The repott must be of a violation of
a criminal or civil statute. See Open Records Decision Nos. 582 at 2 (1990), 515 at 4 (1988).
However, witnesses who provide information in the course of an investigation but do not
make a report of the violation are not informants for the purposes of claiming the informer's
privilege. The privilege excepts the informer's statement only to the extent necessary to
protect that informer's identity. Open Records Decision No. 549 at 5 (1990). You argue
portions of the remaining information in Exhibit B-2 identify a witness who reported
possible violations of law to the voter registrar's office. Upon review, we find you have
failed to demonstrate any of the information at issue identifies an individual who made a
report of a violation of any criminal or civil law for the purposes of the informer's ·privilege.
Accordingly, the voter registrar's office may not withhold any of the remaining information
under section 552.101 of the Government Code in conjunction with the common-law
informer's privilege.

Section 552.130 of the Government Code excepts from disclosure information relating to a
motor vehicle operator's or driver's license, motor vehicle title or registration, or personal
identification document issued by an agency of this state or another state or country. 6 See
Gov't Code § 552.130. Upon review, we find portions of the remaining information are
subject to section 552.130. Accordingly, the voter registrar's office must withhold all
driver's license information and the information we have indicated under section 552.130
of the Government Code.

In summary, the voter registrar's office may withhold Exhibit B-4 under section
552.l 08(a)(l) of the Government Code on behalf of CID. The voter registrar's office must
withhold the lists we have marked under section 552.101 of the Government Code in
conjunction with section 62.113(c) of the Government Code. The voter registrar's office
must withhold the completed juror questionnaires, which we have marked, under
section 552.101 of the Government Code in conjunction with section 62.0132(f) of the
Government Code. The voter registrar's office must withhold all voter social security
numbers, Texas driver's license numbers, numbers of personal identification card issued by
DPS, and any indications that an applicant is interested in working as an election judge that
are furnished on the submitted voter registration applications under section 552.10 I of the
Government Code in conjunction with section 13.004 of the Election Code. Additionally,
to t11e extent the addresses furnished on the submitted voter registration applications fall
within the categories enumerated in subsections 13.004(c)(5) through 13.004(c)(8) of the


        'The Office of the Attorney General will raise a mandatory exception on behalf of a governmental
body, but ordinarily will not raise other exceptions. See Open Records Decision Nos. 481 (1987), 480 (1987),
470 (1987).




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Election Code, the voter registrar's office also must withhold those addresses under
section 552.101 of the Government Code in conjunction with section 13.004 of the Election
Code. The voter registrar's office must withhold all public citizens' dates of birth under
section 552.101 of the Government Code in conjunction with common-law privacy. The
voter registrar's office must withhold all driver's license information and the information we
indicated under section 552.130 of the Government Code. The voter registrar's office must
release the remaining information. 7

This letter ruling is limited to the particular information at issue in this request and limited
to the facts as presented to us; therefore, this ruling must not be relied upon as a previous
determination regarding ahy other information or any other circumstances.

This ruling triggers important deadlines regarding the rights and responsibilities of the
governmental body and of the requestor. For more information concerning those rights
and responsibilities, please visit our website at http://www.texasattorneygeneral.gov/open/
or! ruling info.shtml, or eall the Office of the Attorney General's Open Government
Hotline, toll free, at (877) 673-6839. Questions concerning the allowable charges for
providing public information under the Act may be directed to the Office of the Attorney
General, toll free, at (888) 672-6787.

Sincerely,



James M. Graham
Attorney
Open Records Division

JMG/eb

Ref:    ID# 699618

Enc.    Submitted documents

c:      Requestor
        (w/o enclosures)




         7
          The information being released may contain social security numbers. Section 552.147(b) of the
Government Code authorizes a governmental body to redact a living person's social security number from
public release without the necessity of requesting a decision from this office. See Gov't Code§ 552.147(b).




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